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                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
MONROE COUNTY EMPLOYEES’            Civil Action No. 1:17-cv-00241-MHC
RETIREMENT SYSTEM and
ROOFERS LOCAL NO. 149 PENSION
FUND, Individually and on Behalf of CLASS ACTION
All Others Similarly Situated

                        Plaintiffs,
v.
THE SOUTHERN COMPANY,
THOMAS A. FANNING, ART P.
BEATTIE, EDWARD DAY, VI,
G. EDISON HOLLAND, JR.,
JOHN C. HUGGINS, THOMAS O.
ANDERSON,
                        Defendants.

      MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
      MOTION TO DISMISS THE CONSOLIDATED COMPLAINT

OF COUNSEL:                           Michael J. McConnell
Michele D. Johnson*                   Ga. Bar No. 485003
Kristin N. Murphy*                    Walter W. Davis
Latham & Watkins LLP                  Ga. Bar No. 213083
650 Town Center Drive, 20th Floor     Robert A. Watts
Costa Mesa, California 92626          Ga. Bar No. 793350
Telephone: (714) 540-1235             JONES DAY
Facsimile: (714) 755-8290             1420 Peachtree Street, NE Ste. 800
                                      Atlanta, GA 30309-3053
Sarah A. Greenfield**                 Telephone: (404) 521-3939
Latham & Watkins LLP                  Facsimile: (404) 581-8330
555 Eleventh Street, NW Ste. 1000
Washington, D.C. 20004                Attorneys for Defendants
Telephone: (202) 637-2200             *Admitted pro hac vice
Facsimile: (202) 637-2201             **Pro hac pending
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                        PRELIMINARY STATEMENT
      This case arises out of a $7 billion, first-of-its-kind, clean-coal project

constructed by Mississippi Power Company (“MPC”), a wholly owned subsidiary

of The Southern Company (“Southern”) (together with MPC, the “Company”),1 in

Kemper County, Mississippi (“Kemper” or the “Kemper Plant”). An ambitious

attempt to demonstrate the viability of advanced clean-coal technology on a

commercial scale, the Kemper Plant was originally projected to be operational by

May 2014 (“COD”). Kemper represented one of the first large-scale attempts at

commercial power generation through the gasification of lignite coal, and the first

attempt to do so using Southern’s proprietary gasification technology.        While

Southern has successfully generated synthetic gas through coal gasification for

much of the last year, thereby proving up the science and technology underlying

the project, the Kemper Plant has yet to achieve full commercial operation.

      It is against this backdrop that Plaintiffs filed their Consolidated Complaint

(“CC”), which is limited to a one-and-a-half year period ending more than three

years ago—April 25, 2012, to October 30, 2013 (the “Class Period”). Plaintiffs

allege that during the Class Period, Defendants made materially false or misleading

statements to investors regarding the Company’s ability to achieve the May 2014

1
 For purposes of Defendants’ Motion to Dismiss only, the “Company” will refer to
MPC and Southern collectively and interchangeably.
                                         1
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COD. Plaintiffs’ Class Period commences with a single statement allegedly made

by the Company’s Chief Executive Officer, Tom Fanning, to investors:

       [Kemper Plant] initial startup and testing are now only 14 months
       away. And we remain confident that this project will provide the best
       value to customers over the long term. Targets remain achievable
       for . . . the . . . Kemper County project[] with regard to construction
       schedule and cost to customers.

CC ¶ 112 (emphasis added). The CC provides no basis, let alone a cogent one, for

the Court to conclude that (i) the statement was false, (ii) Mr. Fanning knew it was

false when made, or (iii) it is not an inactionable forward-looking statement

protected under the federal securities laws. Indeed, that Plaintiffs would choose to

rest their case principally on this April 25 statement is telling. As Mr. Fanning

described on that same call, the Mississippi Public Service Commission (“PSC”)

had only one day earlier voted to recertify the Kemper Plant for construction—in

large measure based on the Company’s representations that the May 2014 COD

was achievable. Plaintiffs do not reconcile how these pre-Class Period statements

are not false, while Mr. Fanning’s April 25 statements and those made by other

Defendants until the Company revised the May 2014 target somehow are.

      The CC fails to satisfy the rigid pleading standards of the Private Securities

Litigation Reform Act (“PSLRA”) for three independent reasons. First, Plaintiffs’

claims are time barred. The PSLRA imposes a statute of limitations on claims for


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securities fraud of two years after a plaintiff knew or could have discovered the

facts constituting the alleged fraud. When the Company announced in October

2013 that Kemper would not be operational by May 2014, the two-year statute of

limitations began to run. Thus, the window to bring Plaintiffs’ claims closed in

October 2015, but this lawsuit was not filed until January 2017—over a year late.

      Second, even if their claims were timely (they are not), Plaintiffs fail to

plead a single actionable false statement. Nearly all of the 37 statements Plaintiffs

challenge are predictions about when Kemper would be commercially operational.

These are all forward-looking statements, accompanied by detailed cautionary

language warning of the risks involved in an undertaking of this size, including the

risk that construction delays could cause the plant to miss its target operational

date—and thus are protected by the PSLRA’s safe harbor. Even without the

cautionary language, the forward-looking statements are not a basis for liability

because Plaintiffs do not allege any facts showing that Defendants actually knew

during the Class Period that Kemper would not be complete by May 2014.

      Third, Plaintiffs fail to plead the requisite strong inference of scienter.

Plaintiffs allege Defendants had motive to conceal construction delays during the

Class Period because Southern stood to gain hundreds of millions of dollars in

federal tax credits and other financial benefits if Kemper achieved a May 2014


                                         3
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completion date. This alleged motive makes no sense on its face, and there are no

well-pled facts to support it. The alleged financial incentives were not achievable

throughout the ongoing construction of the Kemper Plant, but instead were tied to

Kemper actually being operational by May 2014 or soon thereafter. Southern had

nothing to gain—whether alleged financial incentives or otherwise—by publicly

misrepresenting the status of the project between April 25, 2012, and October 30,

2013. This conclusion is underscored by the fact that Southern reported that

Kemper could not hit the target date nearly seven months before May 2014.

      Under Supreme Court precedent, the inference of scienter must be “more

than merely plausible or reasonable—it must be cogent and at least as compelling

as any opposing inference of nonfraudulent intent.” Tellabs, Inc. v. Makor Issues

& Rights, Ltd., 551 U.S. 308, 314 (2007). Here, the nonculpable inference is far

more cogent and compelling: the Kemper Plant was a first-of-its-kind endeavor

that Defendants expected to complete on schedule, but ultimately the precise risks

about which Defendants repeatedly cautioned investors came to pass, and rendered

the May 2014 date unattainable. The CC should be dismissed with prejudice.

                           STATEMENT OF FACTS

A.    The First-Of-Its-Kind, “Clean Coal” Kemper Plant Is Approved
      Southern is a utility holding company based in Atlanta, Georgia. CC ¶ 20.


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Southern’s operating subsidiaries include public utility companies located

throughout the Southeastern United States, including MPC. Id. MPC provides

electricity to retail customers within the state of Mississippi. Id. ¶ 30.

      Thomas A. Fanning is Southern’s Chairman, President, and Chief Executive

Officer. Id. ¶ 21. Art P. Beattie is Southern’s Executive Vice President and Chief

Financial Officer. Id. ¶ 22. Edward Day was MPC’s President and CEO from

August 13, 2010, until May 20, 2013. Id. ¶ 23; Ex. 31.2 G. Edison Holland was

Southern’s General Counsel from 2001 until April 2013, when he became MPC’s

President and CEO in May 2013. CC ¶ 24. John C. Huggins was a Southern



2
  “Ex.” refers to exhibits included in the Exhibit Index and attached as exhibits
hereto. The Exhibits are properly considered as incorporated by reference in the
CC or matters of which the Court may take judicial notice. See, e.g., Bryant v.
Avado Brands, Inc., 187 F.3d 1271, 1281 (11th Cir. 1999) (courts may take judicial
notice of SEC filings at the motion to dismiss stage); Cainion v. Bank of America,
N.A., No. 1:12-CV-03520-AT, 2013 WL 12109497, at *3 (N.D. Ga. May 1, 2013)
(taking judicial notice of news articles regarding certain practices in the subprime
lending industry and holding that plaintiffs’ fraud claim was time-barred); Sanford
v. Aldridge Connors LLP, No. 1:15-CV-1851-MHC, 2015 WL 11439081, at *1
(N.D. Ga. July 23, 2015) (Cohen, J.) (documents central to plaintiff’s claims may
be considered on a 12(b)(6) motion under the incorporation by reference doctrine).
Defendants respectfully request that this Court take judicial notice of Exhibits 1, 3-
5, 21, 23 not for the truth of the matters asserted therein, but for their existence and
content, and the fact that each was publicly available prior to October 30, 2013.
See Absolute Activist Value Master Fund Ltd. v. Devine, No. 2:15-cv-328-FtM-
29MRM, 2017 WL 519066, at *12-13 (M.D. Fla. Feb. 8, 2017) (taking judicial
notice of “the fact that [two news articles] now exist, but not for the truth of the
matters asserted therein”).
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employee who became a Kemper startup manager in 2010, and became the VP of

Generation Development for MPC on May 20, 2013.           Id. ¶ 25.   Thomas O.

Anderson (with the other individuals, the “Individual Defendants”) was MPC’s VP

of Generation Development from July 2009 to May 2013. Id. ¶ 26.

        The Kemper Plant is an integrated gasification combined cycle (“IGCC”)

power generation plant designed to use extreme heat and pressure to turn lignite

coal into synthetic gas used to fuel the combined-cycle power plant. Id. ¶¶ 33-34.

The Kemper Plant—the first of its kind to use Southern’s proprietary gasification

technology—was intended to produce electricity from an inexpensive and

abundant type of coal present in Mississippi, while emitting less pollution than a

typical coal-fired plant. Ex. 13.

        In January 2009, MPC sought authorization from the PSC to construct and

operate the Kemper Plant. See Ex. 45 at 1. Later in 2009, the IRS allocated $133

million in tax credits to MPC, if and only if Kemper were operational by May 11,

2014.     CC ¶ 35.    MPC could not commit to procure major equipment and

commence detailed design efforts prior to certification by the PSC. See Ex. 5 at

38-39.3 Thus, detailed design engineering of the Kemper Plant commenced after

the PSC certified the plant for construction in May 2010. Ex. 2. The PSC’s
3
 The PSC was made aware of the limited design that had been completed for the
project through testimony from various Company witnesses. See, e.g., Ex. 1 at 29.
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certification of public convenience and necessity (“CPCN”) approved Kemper with

(1) a construction cost cap of $2.88 billion, and (2) a ratepayer-funded allowance

to cover financing costs incurred during construction through May 1, 2014. CC ¶

36. The PSC and its staff retained several independent monitors, including Burns

and Roe Enterprises, Inc. (the “Monitor”), to monitor the project. Id. ¶¶ 4, 37.4

      Prior to the start of the Class Period, MPC entered into two agreements

related to the completion of the Kemper Plant. The first was an asset purchase

agreement between South Mississippi Electric Power Association (“SMEPA”) and

MPC, pursuant to which SMEPA gave MPC a $150 million interest-bearing

refundable deposit to be applied toward SMEPA’s purchase of a 15% interest in

the Kemper Plant. Id. ¶ 172. The second was a contract with Treetop Midstream

Services LLC (“Treetop”), whereby MPC agreed to sell to Treetop carbon dioxide

captured from the Kemper Plant once it was operational. Id. ¶ 173.

B.    The Kemper Certificate Is Appealed
      Following the issuance of the original CPCN for Kemper in 2010, the Sierra

Club, an intervening party, appealed the PSC’s order. See Ex. 4. In March 2012,

the Mississippi Supreme Court reversed and remanded the Kemper CPCN on the

4
  In its Order certifying the Kemper Plant, the PSC expressed that the risks
associated with the project’s “unprecedented scope, cost and uncertainties”
warranted “special measures,” such as the use of independent experts to closely
monitor progress and evaluate deviations in scope, cost, and schedule. Ex. 1 at 43.
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grounds that the order lacked sufficient findings of fact to support the decision, as

required by statute. Id. In response, MPC requested that the Kemper CPCN be re-

issued on remand by the PSC, and that a temporary order be issued allowing

construction to continue until the matter could be addressed. Ex. 5. On March 30,

2012, following the Supreme Court’s issuance of the mandate, the PSC issued a

temporary certificate to allow adequate time for the PSC to consider the status of

the Kemper project and address the Supreme Court’s opinion. See Ex. 31 at II-86.

C.    The Market Receives Regular Updates On The Progress Of The
      Kemper Plant Towards The Target May 2014 Operational Date
      On April 24, 2012, the PSC voted to re-certify construction of the Kemper

Plant, based on the Company’s representations, among others, that Kemper would

meet its original budget of $2.395 billion and would be placed into service no later

than May 1, 2014. CC ¶ 111. The next day, April 25, 2012—the start of the

putative Class Period—Southern hosted a conference call to report that the PSC

had issued the order the previous day, and that construction at Kemper would

proceed under the new order.     Id. ¶ 112; Ex. 6. Mr. Fanning affirmed his belief

that the May 2014 COD remained achievable. CC ¶ 112.

      On that call, the Company cautioned the market about forward-looking

statements and directed investors to the Company’s 2011 Form 10-K.               See



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Appendix B at 1-6.5 That Form 10-K (and subsequent Company filings) contained

a multi-page section warning about the significant risks associated with

construction projects generally, and the projected construction schedule for

Kemper specifically:

      Southern Company intends to continue its strategy of developing and
      constructing . . . [the Kemper] IGCC . . . . These types of projects are
      long-term in nature and may involve facility designs that have not
      been finalized or previously constructed. The completion of these
      types of projects without delays . . . is subject to substantial risks,
      including: shortages and inconsistent quality of equipment, materials,
      and labor; . . . contractor or supplier delay . . . delays in or failure to
      receive necessary . . . regulatory authorizations; . . . adverse weather
      conditions; unforeseen engineering problems; changes in project
      design or scope.

Ex. 3 at I-24-25; see also Ex. 31 at I-19-20; Appendix B. The Company further

warned that “[t]he completion of these types of projects without delays or

significant cost overruns is subject to substantial risks,” and that construction

delays can “adversely affect the net income and financial position of [MPC or

Southern]” and “may result in the loss of . . . investment tax credits and other tax

incentives.” Ex. 3 at I-24-25; Ex. 31 at I-19-20. Southern’s quarterly SEC filings

contained similar warnings. See, e.g., Ex. 18 at 129; Appendix B at 7-10. During

5
  For the Court’s convenience, Defendants are concurrently filing two appendices:
Appendix A, a chart listing each challenged statement and the reasons why it is
inactionable, and Appendix B, a chart of cautionary language that accompanied the
statements that Plaintiffs challenge in the CC. Pursuant to the PSLRA, the Court
must consider this cautionary language on this Motion. 15 U.S.C. § 78u–5(e).
                                          9
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the Class Period, together with these clear and repeated warnings, Defendants and

MPC reaffirmed their expectation that Kemper would be operational by May 2014

despite construction delays.

        During 2012, the Monitor conducted an Independent Project Schedule and

Cost Evaluation (“IPSCE”), and reported the findings to the PSC on November 26,

2012.     See Ex. 20 (“IPSCE Report”).      The publicly available IPSCE Report

indicated that numerous critical-path items were behind the baseline plan,

including concrete foundations, structural steel, and piping. CC ¶¶ 83-86. At the

same time, the Monitor noted that MPC was committed to completing

construction, start-up, and commissioning by May 2014. Id. ¶ 86. The Monitor

reported that in July 2012, MPC projected a July 2014 COD (id. ¶ 124(g)), but then

reinstated the May 2014 COD after completing a “re-baselined schedule which

identified 48 specific workarounds.” Ex. 20 at 24. The Monitor concluded that the

May 2014 COD could be met if “all of the specific construction work-arounds are

implemented, and future unforeseen delays or difficulties are effectively

addressed.” Id. at 6. The Monitor further explained the gasifier refractory-lined

components “were originally running about six months behind schedule” but that

“[t]he latest recovery plan by the project team accelerates delivery, and they are

now only about three months behind.” Id. at 25.


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      At the start of 2013, Southern reported that “critical elements,” including

piping, were still being installed, but that “the Kemper project is now 75%

complete” and the “plant is scheduled to begin start-up activities this summer.”

CC ¶¶ 138-39; Ex. 29. On April 24, 2013, Southern disclosed a cost increase of

$540 million, based primarily on more labor and adjustments to productivity

related to piping installation (Kemper required about 172 miles of above-ground

piping). CC ¶ 146; Ex. 34. On July 31, 2013, Southern stated that installing piping

was “challenging” and the “biggest risk” for Kemper’s schedule. Ex. 41. Seeking

to stay on schedule, MPC increased the number of workers at Kemper and the

number of shifts, from the scheduled 1,200 craft labor personnel up to 6,540 by

August 2013, and from the scheduled 450 pipe workers up to 1,500. CC ¶ 159(c).

D.    Seven Months Before The Target Operational Date, Southern Discloses
      That The Kemper Plant Has Been Delayed
      In or around July 2013, following the termination of Defendants Day and

Anderson, Defendant Huggins, Mr. Anderson’s replacement, called a meeting of

the MPC and Southern Company Services (“SCS”) engineering and construction

teams to address issues including the project schedule. See id. ¶ 67. Following

this meeting, Brett Wingo, then a mid-level manager with SCS’s Engineering and

Construction Services division (id. ¶ 57), was asked to identify a third-party

consultant to assist in the development of a detailed schedule to support start-up of

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the plant upon completion of construction activities. Id. ¶ 159(e). According to

Plaintiffs, in mid-September 2013 Mr. Wingo completed his schedule, which

allegedly concluded that there was no way to achieve the May 2014 COD. Id.

      Days later, and still almost seven months before the May 2014 target, the

Company announced that the Kemper Plant would not be operational on the

originally estimated timeframe. Id. ¶ 209. On October 2, 2013, MPC disclosed

that “as the result of abnormally wet weather and lower-than planned construction

labor productivity,” MPC expected that Kemper would be placed into service later

in 2014 than May. Id. On October 29, 2013, Southern reaffirmed that MPC had

revised the schedule to the fourth quarter of 2014, “largely as the result of lower-

than planned installation levels for piping as well as abnormally wet weather,” and

warned that there could be further extensions. Id. ¶ 212. The next day, Southern

explained that although tremendous progress had been made and construction had

gone well, certain engineering issues made the prior timeline unfeasible. Id. ¶ 214.

Plaintiffs allege that these statements were true.

E.    Several Years Later, The New York Times Publishes A Negative Article
      And This Lawsuit Follows
      Nearly three years later, on July 5, 2016, The New York Times published an

article entitled, “Piles of Dirty Secrets Behind a Model ‘Clean Coal’ Project.” Id. ¶

49.   The article criticized regulators’ decisions to approve the plant (which

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occurred before the Class Period), and recounted comments from former engineers

and Mr. Wingo about whether Kemper could meet the revised schedule estimate of

late 2014 (that is, after the Class Period). Ex. 46. These engineers, according to

the article, wondered in conversations illicitly recorded by Mr. Wingo starting in

August 2014 (after the Class Period) whether the continued schedule delays were

partly the result of “mismanagement or fraud.” Id. (emphasis added).

      This lawsuit followed about six months later, on January 20, 2017. Dkt. 1.

On June 12, 2017, Plaintiffs filed the CC (Dkt. 28), challenging 37 statements

during the alleged Class Period of April 25, 2012, to October 30, 2013, falling into

three categories: (1) schedule estimates about progress at Kemper, including

Monthly Status and Cost Reports (“Monthly Reports”) filed by MPC with the PSC

(CC ¶¶ 112-13, 116-20, 122-23, 125-28, 130, 133, 135-41, 143, 145-47, 149-152,

154-55, 157) (“Schedule Estimates”); (2) statements about milestones achieved at

Kemper (id. ¶¶ 123, 130, 158) (“Milestone Statements”); and (3) statements of

optimism, such as that “tremendous progress” had been made at Kemper (id. ¶¶

112, 116-17, 127, 130, 132, 134, 138, 146, 153). See Appendix A.

                              LEGAL STANDARD
      To state a claim under Section 10(b) of the Exchange Act and Rule 10b-5,

Plaintiffs must adequately plead: (i) a material misrepresentation or omission of


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fact; (ii) scienter; (iii) a connection with the purchase or sale of a security; (iv)

reliance; (v) economic loss; and (vi) loss causation. 15 U.S.C. § 78j(b); 17 C.F.R.

§ 240.10b-5; Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1236-37 (11th Cir.

2008). To survive a motion to dismiss under Federal Rule of Civil Procedure

12(b)(6), Plaintiffs’ allegations must be “plausible on [their] face” and more than

“speculative.”   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007).

      Plaintiffs must also satisfy the heightened pleading requirements of Federal

Rule of Civil Procedure 9(b) and the PSLRA. Rule 9(b) requires that any fraud

claim state “with particularity the circumstances constituting fraud or mistake.”

Fed. R. Civ. P. 9(b). Under the PSLRA, Plaintiffs are required to specify with

particularity “each statement alleged to have been misleading [and] the reason or

reasons why the statement is misleading,” 15 U.S.C. § 78u-4(b)(1), and “state with

particularity facts giving rise to a strong inference that the defendant acted with the

required state of mind”—i.e., scienter. Id. § 78u-4(b)(2)(A).

                                    ARGUMENT

I.    PLAINTIFFS’ CLAIMS ARE TIME-BARRED
      The PSLRA imposes a two-year statute of limitations for securities fraud

cases such as this one. 28 U.S.C. § 1658(b) (a private securities fraud action “may

be brought not later than . . . 2 years after the discovery of the facts constituting the


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violation”). “Discovery,” as used in Section 1658(b), includes facts the plaintiff

actually knew, as well as those facts plaintiff would have known had it “exercised

reasonable diligence.” 100079 Canada, Inc. v. Stiefel Labs., Inc., 596 Fed. App’x.

744, 747 (11th Cir. 2014) (dismissing securities fraud claims as time-barred where

plaintiff would have known of the alleged facts through reasonable diligence more

than two years before commencing the action).

      Even if the Court accepted Plaintiffs’ theory of the case—that Defendants

misled investors about the Company’s ability to achieve the May 2014 COD in

order to obtain tax credits and other funding—a reasonably diligent plaintiff would

have had sufficient information to plead the elements of a securities fraud claim as

of the date the full “truth” was allegedly revealed: October 30, 2013. Therefore,

the two-year statute of limitations began to run on that date and expired on October

30, 2015. This lawsuit was filed on January 20, 2017—more than a year too late.

      Plaintiffs concede that by October 30, 2013, the Monitor’s November 2012

report, which catalogued construction delays and questioned the achievability of

the May 2014 COD, had received widespread coverage from the media and the

Kemper project’s critics. CC ¶¶ 79-88, 131(h); see, e.g., Exs. 21-23. The financial

incentives that constitute the basis of Plaintiffs’ motive allegations were also

widely known. CC ¶¶ 169-175. Plaintiffs are not free to ignore such information


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until they decide to file suit years later. See In re Eli Lilly and Co. Sec. Litig., 549

F. Supp. 2d 496, 535 (E.D.N.Y. 2008) (dismissing securities claims as time-barred

where plaintiffs claimed defendants’ misdeeds were publicly disclosed for the first

time in New York Times articles, but where information publicly available years

prior revealed the facts underlying plaintiffs’ claims). Southern’s October 30,

2013 announcement, combined with publicly available information at that time,

was sufficient to trigger the duty to investigate.6 See, e.g., Tello v. Dean Witter

Reynolds, Inc., 410 F.3d 1275, 1283 (11th Cir. 2005) (investor has duty of inquiry

triggered “by evidence of the possibility of fraud,” not “[f]ull exposition of the

scam,” and will be imputed with “constructive knowledge” of information in the

public domain); Stiefel Labs., Inc., 596 Fed. App’x. at 748-49 (securities fraud

claims were time-barred where, given the “stark divergence” of subsequent events

from the company’s prior statements, a reasonable person in plaintiff’s position

“would have performed at least a modest investigation”).



6
  Shortly after October 2013, Plaintiffs could have discovered through reasonable
diligence a multitude of additional facts. For example, in April 2014, the
Independent Monitor issued a second report, which also catalogued construction
delays and questioned whether the May 2014 COD target had been realistic. Ex.
45. Plaintiffs quote extensively from this report and acknowledge that it received
widespread media attention in November 2014—more than two years before
Plaintiffs filed suit. E.g., CC ¶ 104. Additionally, MPC pushed back Kemper’s
COD several more times prior to two years before this lawsuit. See, e.g., id. ¶ 46.
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      In an effort to avoid this result, Plaintiffs allege that the NYT Article

“publicly revealed for the first time” that Defendants had deliberately deceived the

market regarding schedule delays at Kemper. CC ¶ 55. But the article reveals

nothing new about the time period between April 25, 2012, and October 30, 2013.

It reports on the views of Mississippi regulators who did not support approval of

the Kemper Plant—which occurred before the Class Period. Ex. 46. It recounts a

debate among Mr. Wingo and other engineers regarding whether the revised

estimated completion date of late 2014 could be achieved—a debate which

occurred after the Class Period. Id. The article does not reveal any deliberate

misconduct. At most, it raises the question of whether schedule delays were the

result of something worse than mere mismanagement. Id. It is well-settled that

“corporate mismanagement” is “insufficient to establish securities fraud.” Barr v.

Matria Healthcare, Inc., 324 F. Supp. 2d. 1369, 1384 (N.D. Ga. 2004); see also

Druskin v. Answerthink, Inc., 299 F. Supp. 2d 1307, 1334 (S.D. Fla. 2004) (no

fraud where allegations amounted to “former employees who [ ] disagreed with

management’s decisions”). And this question could have been asked by Plaintiffs

much earlier.    Plaintiffs’ allegation that the elements of its claims were first

revealed on July 5, 2016, is implausible on the face of the article.




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II.   PLAINTIFFS FAIL TO PLEAD FALSITY

      A.    Defendants’ Forward-Looking Statements Are Protected By The
            PSLRA Safe Harbor
      Under the PSLRA, forward-looking statements cannot be the basis of

Section 10(b) liability if either one of two things is true: (1) the statements are

accompanied by meaningful cautionary language, or (2) the plaintiff fails to allege

that the maker of the statement had actual knowledge that the statement was false

or misleading. Harris v. Ivax Corp., 182 F.3d 799, 803 (11th Cir. 1999); 15 U.S.C.

§ 78u-5. The first category of challenged statements, the Schedule Estimates—

which are 33 out of the 37 challenged statements—are protected under either prong

of the PSLRA’s safe harbor. See Appendix A at rows 1-14, 16, 18-32, 34-36.

            1.     Statements Regarding The Projected Construction Schedule For
                   Kemper Are Forward-Looking

      Forward-looking statements are predictive, and are specifically defined by

the PSLRA to include the “plans and objectives of management for future

operations,” and “the assumptions underlying or relating to” those objectives. 15

U.S.C. § 78u-5(i)(1).    The Schedule Estimates are, by their plain language,

forward-looking statements regarding future operations and the underlying

assumptions. E.g., CC ¶ 127 (Kemper “remains on schedule to begin commercial

operation in May of 2014”); id. ¶ 137 (“the project remains on-track for a May


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2014 in-service date”); see Appendix A at rows 1-14, 16, 18-32, 34-36. Courts

have held that analogous statements are forward-looking. See, e.g., Szymborski v.

Ormat Techs., Inc., 776 F. Supp. 2d 1191, 1198-99 (D. Nev. 2011) (statements

about construction of power plant such as, “[w]e expect to complete [the

construction] by the end of 2008,” were forward-looking); In re Barrick Gold Sec.

Litig., No. 13 Civ. 3851(SAS), 2015 WL 1514597, at *2, *8 (S.D.N.Y. April 1,

2015) (statements that a gold mine was “on schedule for [production in] mid-2013”

and regarding an “expected” construction schedule were forward-looking).

      Statements about progress toward the expected schedule are similarly

forward-looking. The accuracy of Defendants’ forecasts that Kemper was “on

track,” “progressing on schedule,” “more than 70 percent complete,” and “less than

16 months from commercial operation” (CC ¶¶ 112, 116-19, 122-23, 125-27, 130,

133, 135-41, 143, 145-47, 149-51, 154)—made years and months away from the

anticipated deadline—cannot be discerned until the future, and accordingly they

are forward-looking. See e.g., Amalgamated Bank v. Coca-Cola Co., No. Civ.A.

1:05-CV-1226, 2006 WL 2818973, at *7 (N.D. Ga. Sept. 29, 2006) (“Whether

[Coca-Cola Co.’s] strategy is ‘being well-executed’ or whether [it] has a ‘crystal

clear strategy’ are facts only verifiable – if verifiable at all – in the future”);

Harris, 182 F.3d at 806 (statements that a company’s fundamental business and


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underlying strategies remain intact were forward-looking).

             2.    The Statements Were Accompanied By Meaningful Cautionary
                   Language

      Forward-looking statements accompanied by meaningful cautionary

language are inactionable as a matter of law, without regard to the speaker’s

knowledge. See Edward J. Goodman Life Income Trust v. Jabil Circuit, Inc., 594

F.3d 783, 796 (11th Cir. 2010) (dismissing claims based on forward-looking

statements accompanied by meaningful cautionary language, without regard to

whether the speaker knew such statements were false when made).             To be

“meaningful,” accompanying cautionary language need only warn of “risks of a

significance similar to that actually realized.” Harris, 182 F.3d at 807.

      Here, Defendants’ forward-looking statements were each accompanied by

meaningful cautionary language warning of the exact risks that materialized:

“Mississippi Power could experience . . . schedule delays with respect to the

Kemper IGCC as a result of factors including, but not limited to, labor costs and

productivity, adverse weather conditions, shortages and inconsistent quality of

equipment, materials, and labor, or contractor or supplier delay or nonperformance

under construction or other agreements.” Ex. 31 at I-22; see Appendix B.7


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 Cautionary statements “need not be included in the same document as the alleged
misrepresentations as long as the risk disclosures were related to and proximate in
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            3.     Plaintiffs Fail To Plead Facts Showing Defendants’ Actual
                   Knowledge That The Schedule Estimates Were False

      Though the Court can end its analysis there, Defendants’ forward-looking

statements are also protected under the safe harbor because Plaintiffs fail to show

that the statements were made with actual knowledge of their falsity. See Harris,

182 F.3d at 803 (“Even if the forward-looking statement has no accompanying

cautionary language, the plaintiff must prove that the defendant made the statement

with ‘actual knowledge’ that it was ‘false or misleading.’”). Plaintiffs point to no

facts known by any Defendant prior to October 2013 suggesting that any

Defendant actually knew it was impossible to meet the May 2014 COD.

      Instead, Plaintiffs allege that construction delays in significant aspects of the

project caused some lower-level employees at Kemper to speculate that the May

2014 COD was unattainable. See, e.g., CC ¶¶ 61-62. The beliefs of a handful of

lower-level employees do not show that any Defendant actually knew this to be

true, in contrast to the publicly stated expectations. See Barrick Gold, 2015 WL

1514597, at *10 (allegations that internal confidential sources believed a mining

project would not be complete by defendants’ schedule estimates were insufficient

to show defendants’ actual knowledge that they could not achieve their goal).


time to the alleged misrepresentations.” In re S1 Corp. Sec. Litig., 173 F. Supp. 2d
1334, 1354, 1357 (N.D. Ga. 2001); 15 U.S.C. § 78u-5(c)(2)(B)(i).
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      The CC and documents central to Plaintiffs’ claims undermine the allegation

that Defendants knew before October 2013 that Kemper would not be operational

by May 2014.      During the Class Period, MPC constantly re-evaluated the

construction schedule. For example, in July 2012, MPC internally projected a July

2014 COD but then reinstated the May 2014 date after completing a “re-baselined

schedule which identified 48 specific workarounds.”        Ex. 20 at 24.     These

allegations suggest that Defendants took a “‘prudent course of action that weakens

rather than strengthens an inference of scienter.’”     Barrick Gold, 2015 WL

1514597, at *10 (defendants’ evaluation of schedule estimates negated an

inference that schedule estimates were made with actual knowledge of falsity).

      At most, Plaintiffs’ allegations suggest that Defendants underestimated the

challenges of constructing new technology and misjudged the gravity of known

delays. No construction project of significant magnitude is without problems. But

“[p]roblems and difficulties are the daily work of business people [and] that they

exist does not” equal fraud. Ronconi v. Larkin, 253 F.3d 423, 430, 433-34 (9th

Cir. 2001) (“Alleging in substance that [a company] underestimated [its problems]

does not make out a fraud case.”). By Plaintiffs’ own allegations, despite setbacks

and delays, prior to October 2013, MPC and Southern poured more resources into

the Kemper Plant and identified workarounds, including for the refractory failures


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on the gasifier. CC ¶¶ 60, 78. These actions are consistent with an inference that

Defendants believed they could overcome delays to meet the May 2014 COD. See

Firefighters Pension & Relief Fund of the City of New Orleans v. Bulmahn, 147 F.

Supp. 3d 493, 536-37 (E.D. La. 2015) (defendants’ continued efforts to borrow

money notwithstanding that the company was already “extremely leveraged”

suggested that they did not know that the company was “doomed”).

      B.    Statements Of Corporate Optimism Are Inactionable
      Plaintiffs challenge numerous optimistic statements that are of the exact type

that courts routinely hold to be inactionable “puffery.” CC ¶¶ 112, 116-17, 122,

127, 130, 132, 134, 138, 146, 153; Appendix A at rows 1, 3-4, 8, 12, 14-15, 17, 21,

27, 33. These include statements like “we remain confident that this project will

provide the best value to customers over the long term” (CC ¶ 112 (Fanning));

Kemper “continues to be the best generation option for customers” (id. ¶ 117

(Southern)); and “[w]e continue to make tremendous progress” (id. ¶ 146

(Fanning)). Courts in the Eleventh Circuit routinely reject securities fraud claims

based on such statements of corporate optimism. See, e.g., Amalgamated Bank,

2006 WL 2818973, at *3, *8, *10 (“relationships with [Coca-Cola Co. and its]

bottling partners have never been stronger” was inactionable puffery); In re S1

Corp. Sec. Litig., 173 F. Supp. 2d 1334, 1355-56 (N.D. Ga. 2001) (statements


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about achieving “growth milestones” and that costs were “ahead of schedule” were

inactionable puffery).

      C.     Plaintiffs Fail To Plead With Particularity That Any Challenged
             Statement Was False Or Misleading
      All of the challenged statements should be dismissed because Plaintiffs fail

to allege particularized facts showing why any of these statements were false or

misleading. 15 U.S.C. § 78u-4(b). As to the Milestone Statements, Plaintiffs do

not allege that any of the milestones had, in fact, not been achieved. As to the

Schedule Estimates, Plaintiffs allege that the project was experiencing construction

delays in installing the gasifier and piping, engineering delays, and poor labor

productivity—but no alleged facts show that interim delays were not being

factored into the predictions. Instead, the alleged facts detail efforts to address the

delays and still meet the target. See, e.g., Ex. 20 at 25 (MPC considered gasifier

and piping when evaluating the schedule).           In fact, contrary to Plaintiffs’

characterizations (CC ¶¶ 86-88, 93-104), the November 2012 IPSCE Report noted

that the COD could be met, with effective workarounds. Ex. 20 at 6. And as to the

statements of optimism, Plaintiffs themselves do not challenge as false the similar

Fanning statement on October 30, 2013, the last day of the Class Period, that

“[t]remendous progress continues to be made at the site.” CC ¶ 214. Plaintiffs fail

to allege falsity. See In re Royal Caribbean Cruises Ltd. Sec. Litig., No. 1:11–

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22855–CIV, 2013 WL 3295951, at *16 (S.D. Fla. Apr. 19, 2013) (no falsity pled

absent “description of any reports, generated when and by whom, that contained

relevant information in juxtaposition to Defendants’ statements”).

III.   PLAINTIFFS FAIL TO PLEAD SCIENTER
       The PSLRA’s heightened pleading standard requires Plaintiffs to allege

particularized facts supporting scienter—a “strong inference that the defendant

acted with the required state of mind” (15 U.S.C. § 78u-4(b)(2)(A))—i.e., “intent

to deceive, manipulate, or defraud, or severe recklessness.”           Thompson v.

RelationServe Media, Inc., 610 F.3d 628, 634 (11th Cir. 2016) (internal quotation

marks omitted). In the Eleventh Circuit, a showing of “severe recklessness” “‘is

limited to those highly unreasonable omissions or misrepresentations that involve

not merely simple or even inexcusable negligence, but an extreme departure from

the standards of ordinary care.’” Mizzaro, 544 F.3d at 1238 (citation omitted).

Plaintiffs’ allegations do not meet these high standards.

       A.    Plaintiffs’ Motive Allegations Are Implausible

       Plaintiffs allege that Defendants were incentivized to conceal Kemper’s

scheduling delays in order to obtain tax credits and other funding, and so that their

business partners would not cancel contracts. CC ¶¶ 169-175. This hypothesis is

illogical. Before the start of the Class Period, the IRS tax credits had been granted,


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MPC had entered into contracts with SMEPA and Treetop, and the PSC had

approved a ratepayer-funded allowance to cover construction financing and voted

to re-certify construction of Kemper, based on unchallenged representations that

MPC would meet the May 2014 COD. Id. ¶ 111. Plaintiffs allege, implausibly,

that the day after the PSC voted to re-certify construction of Kemper, Defendants

commenced a fraud to conceal scheduling delays that threatened these incentives.

Id. ¶¶ 42-43. This makes no sense. The alleged incentives—tax credits, financing,

contracts—were already in place.

      Moreover, Defendants could obtain the benefit of these bargains only if

Kemper was actually completed—by May 2014 or shortly thereafter: (1) the IRS

tax credits were contingent on the May 2014 COD; (2) the PSC imposed a deadline

of May 2014 to recover construction financing costs; (3) without a functional

power plant, MPC had to refund SMEPA for its deposit, plus interest; and (4) the

contract with Treetop for Kemper’s CO2 byproduct could be (and was) terminated

if the plant was not operational. Id. ¶ 175. Whether the plant was on track in the

interim made no difference.     Plaintiffs do not allege that Defendants could

circumvent any penalties by waiting to revise the estimated COD. Moreover,

PSC’s approval of a 15% rate increase to cover construction costs was contingent

on timely completion of the plant—as demonstrated by the fact that MPC was


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ordered to repay ratepayers for the increases given the delays and cost overruns.

Id. ¶ 174. And in fact, because the SMEPA deposit was interest-bearing, there was

an incentive to disclose as soon as possible if Kemper would not be operational.

      In short, Plaintiffs do not plausibly allege that the supposed fraud

(dishonesty regarding progress at Kemper) would enable the fraud’s alleged goals.

See In re John Alden Fin. Corp. Sec. Litig., 249 F. Supp. 2d 1273, 1282 (S.D. Fla.

2003) (motive allegations did not support scienter where common sense suggested

defendants’ actions were “wholly inconsistent with the motives Plaintiffs

suggest”); Glaser v. The9, Ltd., 772 F. Supp. 2d 573, 591-92 (S.D.N.Y. 2011)

(motive allegations did not create scienter inference where there was no credible

argument that challenged statements enabled purported motives).

      B.    The Absence Of Alleged Stock Sales Undercuts An Inference Of
            Scienter
      The Eleventh Circuit “has expressly noted that any inference of scienter is

particularly weak where, as here, the complaint fails to allege inside stock sales.”

In re HomeBanc Corp. Sec. Litig., 706 F. Supp. 2d 1336, 1359 (N.D. Ga. 2010).

Plaintiffs’ allegations that Defendants fraudulently concealed that the COD date

was unattainable are inconsistent with the fact that not one of them is alleged to

have taken advantage of the purportedly inflated stock price before revealing the

“truth” publicly. This fact weighs against an inference of scienter. Mizzaro, 544

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F.3d at 1253 (“complaint says nothing about suspicious stock transactions by any

of the individual defendants, an omission that weighs against inferring scienter”).

      C.     Plaintiffs Fail To Plead Severe Recklessness
      Where, as here, Plaintiffs fail to plead motive, “other allegations of scienter

must be stronger.” City of Pompano Beach Gen. Emps. Ret. Sys. v. Synovus Fin.

Corp., No. 1:09-cv-01811-JOF, 2011 WL 13130185, at *26 (N.D. Ga. May 19,

2011). The CC contains no facts from which the Court can infer that Defendants

acted with severe recklessness as to the truth or falsity of their statements.

             1.     Positions And Responsibilities Within The Company Do Not
                    Support Severe Recklessness

      Plaintiffs’ vague allegations about the Individual Defendants’ “positions,

and their access to material non-public information available to them” (CC ¶ 28)

are insufficient as a matter of law. See, e.g., Patel v. Patel, 761 F. Supp. 2d 1375,

1380-81 (N.D. Ga. 2011) (“reliance on the defendants’ positions” and “access to

internal documents and reports is insufficient to allege a strong inference of

scienter”). This conclusion is even more appropriate here, where Plaintiffs do not

point to any specific information accessible to the Individual Defendants

concluding that interim delays could not be effectively addressed to achieve the

May 2014 COD. See Mogensen v. Body Cent. Corp., 15 F. Supp. 3d 1191, 1220



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(M.D. Fla. 2014) (no inference of scienter absent allegations that reports

defendants received contained information contrary to public statements).

      Plaintiffs’ allegations that Individual Defendants signed Sarbanes Oxley

(“SOX”) certifications (CC ¶¶ 177-180) are also insufficient because the CC lacks

any allegations of red flags regarding the specific problems that led to the revised

COD that were ignored by the Defendants who signed the certifications. See

Waterford Township Gen. Emps. Ret. Sys. v. BankUnited Fin. Corp., No. 08-CIV-

22572, 2010 WL 1332574, at *18 (S.D. Fla. Mar. 30, 2010) (allegedly false SOX

certification was not probative of scienter because plaintiffs failed to allege red

flags contemporaneously known to and ignored by the certifying defendants).8

             2.     Plaintiffs’ Witness Allegations Are Not Credible Or Sufficient
                    To Support Severe Recklessness

      Plaintiffs rely on vague statements attributed to five confidential witnesses

(“CWs”) and Mr. Wingo. CC ¶¶ 56-78, 184-185. None of the allegations—

individually or collectively—is sufficient to plead scienter.

      First, none of the CWs recounts interactions with, let alone personal

knowledge of alleged wrongdoing by, any Individual Defendant. The CWs consist


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  To the extent the CC challenges the SOX certifications as “false” in and of
themselves, these claims fail for the same reason that the certifications do not
support scienter: there are no allegations that the certifying Defendants knew of but
ignored red flags of the problems later disclosed, in contrast to their certifications.
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of three contract employees, one financial analyst, and one administrative assistant.

Id. ¶¶ 71, 74-78. Only one had any first-hand interaction with any Individual

Defendant: CW2 provided “some support” to Defendant Anderson. Id. ¶ 75.

Otherwise, the CWs make only generalized references to their interactions with

lower-level Southern and MPC employees. See, e.g., id. ¶¶ 61, 63, 65-68, 74-76,

78. The observations of lower-level employees who did not report to Defendants

and were not privy to strategic decisions at an organizational level are entitled to

no weight. See Mizzaro, 544 F.3d at 1248 (discounting CW allegations where the

CWs were not alleged to have met any defendant); Anderson v. Spirit Aerosystems

Holdings, Inc., 827 F.3d 1229, 1243 (10th Cir. 2016) (CW’s “general reports of

delay” of company projects, untied to any defendant, did not support scienter).

      Second, the allegations from the CWs lack details about the alleged facts

actually known to the Individual Defendants. CW1 (a quality assurance contract

employee) refers to reports uploaded to a PIMS system (CC ¶ 74), but does not

identify the details of those reports, whether and how Defendants received those

reports, what they said, or whether they contradicted Defendants’ projections. See

Plymouth Cty. Ret. Sys. v. Carter’s Inc., No. 1:08-cv-02940-JOF, 2011 WL

13124501, at *16 (N.D. Ga. Mar. 17, 2011) (rejecting CW allegations that “top

executives” had “direct access” to a spreadsheet because the CW did not allege that


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the defendants looked at the sheet, or that the sheet contained contradictory data).

CW2’s (an office coordinator) vague reference to a presentation about Kemper that

construction manager Ashley Baker provided to Fanning (CC ¶ 75) similarly lacks

any details whatsoever about the presentation’s content. See In re Altisource

Portfolio Solutions, S.A. Sec. Litig., No. 14-81156 CIV-WPD, 2015 WL 12001262,

at *9 (S.D. Fla. Sept. 4, 2015) (CW allegations must “flesh out at least some of the

details of the conversations, meetings, and internal documents that they describe”).

While certain of the CWs allege generally that some of the Individual Defendants

visited Kemper, they do not say what Defendants saw or what was said to them

during site visits. See, e.g., CC ¶ 74. Finally, allegations that employees were

under “tremendous pressure” to hit the May 2014 deadline do not support scienter.

See, e.g., id. ¶¶ 7, 58. Even if such pressure was interpreted to come from the

highest level, it does not establish that any Defendant was severely reckless absent

allegations showing that Defendants applied pressure because they knew they

could not hit the May COD, as opposed to pushing employees to meet a goal they

believed was achievable with hard work. See Waterford Township, 2010 WL

1332574, at *15-16 (CW allegations that there was “extreme pressure to hit”

numbers and that “Defendants pushed hard for greater loan production” failed to

plead an inference of severe recklessness).


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        Third, according to Mr. Wingo, delays pertaining to the gasifier in 2012

irrevocably doomed the May 2014 COD (CC ¶¶ 59-72), an opinion that Mr. Wingo

shared with three managers in late 2012 or early 2013 (id. ¶¶ 65-66) and wrote

down in mid-September 2013 when he allegedly created his own schedule—mere

days before Southern and MPC also concluded that May 2014 was not feasible. Id.

¶ 68.     Plaintiffs do not allege that Mr. Wingo shared his concerns with any

Defendant during the Class Period.     Although Mr. Wingo allegedly spoke to

Defendant Anderson “on an almost weekly basis” (id. ¶ 61), and met with

Defendant Huggins in July 2013 (id. ¶ 67), the CC does not describe any specifics

of their alleged conversations. Similarly, Mr. Wingo alleges that Anderson and

Huggins sometimes attended monthly production meetings, and that gasifier delays

were discussed at those meetings, but does not allege what was said about the

achievability of the May 2014 COD during those meetings. See Garfield v. NDC

Health Corp., 466 F.3d 1255, 1265 (11th Cir. 2006) (attendance at monthly

operations meetings was insufficient to support scienter where plaintiff could not

establish what was said at the meetings, to whom, and in what context). And

according to the NYT Article, Mr. Wingo first reported his concerns to Mr.

Fanning in March 2014—five months after the Class Period. Ex. 20.




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      At most, the CWs and Mr. Wingo each offer only a narrow viewpoint of

Kemper’s schedule or operations to which they were exposed and their subjective

beliefs regarding the estimated May 2014 COD, e.g., that the timeline was “crazy”

(CW4) or “not realistic” (CW5). In many instances, their concerns were heard—

and dismissed—only by their managers. See, e.g., CC ¶¶ 74, 78. These personal

grievances regarding the daily grind and uninformed opinions regarding the bigger

picture do not support an inference that any Defendant’s statements were made

with severe recklessness. See In re HomeBanc Corp. Sec. Litig., 706 F. Supp. 2d

at 1350 (rejecting CW allegations based on their “opinions” where there was no

suggestion that defendants shared or endorsed the same view).

            3.    Directives Regarding Public Communications Do Not Show
                  Severe Recklessness

      Plaintiffs allege in conclusory fashion that there were Company directives to

conceal evidence of fraud or known delays. CC ¶ 166. The CC points to just two

emails (only one of which came from an Individual Defendant) reminding project

managers and engineers to have external communications approved by senior

management, and not speculate publicly regarding the Kemper project’s status. Id.

¶¶ 167-168. Plaintiffs’ accusation that these were directives to conceal fraud is

unsupported by the emails; instructions regarding external communications are

standard in any public company and do not support scienter. See Sheet Metal

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Workers Local 28 Pension Fund v. Office Depot, Inc., No. 07-81038-CIV-

HURLEY, 2009 WL 10667541, at *9 (S.D. Fla. Mar. 31, 2009) (directives to

employees to “pull all the levers” and “make the numbers” did not support

allegation that the instructions ordered fraud).

             4.     Post-Class Period Events Do Not Support Scienter

      Plaintiffs’ post-Class Period allegations fail to support an inference of

Defendants’ scienter during the Class Period. First, the CC briefly mentions a

Securities and Exchange Commission (“SEC”) investigation concerning the

estimated costs and expected in-service date of Kemper. CC ¶¶ 164-165. It is well

established that the existence of an investigation into potential wrongdoing is

insufficient to allege scienter. See Mizzaro, 544 F.3d at 1245 (SEC inquiry failed

to create a strong inference of scienter); Zisholtz v. Suntrust Banks, Inc., No. 1:08-

CV-1287-TWT, 2009 WL 3132907, at *5 (N.D. Ga. Sept. 24, 2009) (same).

      Second, Plaintiffs allege that the fact that the Kemper Plant is still not

operational is further evidence that Defendants knew or recklessly disregarded that

the May 2014 COD was not achievable. CC ¶¶ 186-89. But whether the May

2014 target was missed by a day or years is irrelevant. See, e.g., In re Republic

Services, Inc. Sec. Litig., 134 F. Supp. 2d 1355, 1360 (S.D. Fla. 2001) (holding that

“magnitude” of error is not sufficient to sustain a claim for securities fraud). This


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argument is impermissible fraud by hindsight. See Anderson v. Spirit AeroSystems

Holdings, Inc., 105 F. Supp. 3d 1246, 1252 (D. Kan. 2015), aff’d, 827 F.3d 1229

(10th Cir. 2016) (dismissing as fraud by hindsight claims that defendants falsely

proclaimed success at reducing costs despite knowing company had cost

overruns).9

IV.    PLAINTIFFS FAIL TO STATE A SECTION 20(a) CLAIM
       Because Plaintiffs have not alleged a primary violation of Section 10(b), the

Section 20(a) “control person” claims also fail. See Thompson, 610 F.3d at 635-

36. At a minimum, the Section 20(a) claims cannot survive against Huggins,

Anderson, Holland, and Day because Plaintiffs have not pleaded any facts showing

that they had the “power to control the general affairs” of Southern. See Mizzaro,

544 F.3d at 1237; Thompson, 610 F.3d at 692 (defendants that did not work for the

corporation that allegedly committed securities fraud could not control its general

affairs).

                                 CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court

dismiss the Consolidated Complaint with prejudice.

9
  Plaintiffs have not adequately pled scienter for any Individual Defendant.
Accordingly, they have not pled scienter for Southern. Hubbard v. BankAtlantic
Bancorp, Inc., 625 F. Supp. 2d 1267, 1288-89 (S.D. Fla. 2008) (failure to plead
individual defendants’ scienter resulted in failure to plead corporate scienter).
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Dated: July 27, 2017                      Respectfully submitted,

                                         By: /s/ Michael J. McConnell
                                           Michael J. McConnell
                                           Ga. Bar No. 485003
                                           Walter W. Davis
                                           Ga. Bar No. 213083
                                           Robert A. Watts
                                           Ga. Bar No. 793350
                                           JONES DAY
                                           1420 Peachtree Street, NE
                                           Suite 800
                                           Atlanta, GA 30309-3053
                                           Telephone: (404) 521-3939
                                           Facsimile: (404) 581-8330

                                         By: /s/ Michele D. Johnson
                                           Michele D. Johnson
                                           (admitted pro hac vice)
                                           Kristin N. Murphy
                                           (admitted pro hac vice)
                                           Latham & Watkins LLP
                                           650 Town Center Drive, 20th Floor
                                           Costa Mesa, California 92626
                                           Telephone: (714) 540-1235
                                           Facsimile: (714) 755-8290

                                           Sarah A. Greenfield
                                           (pro hac vice pending)
                                            Latham & Watkins LLP
                                            555 Eleventh Street, NW Ste. 1000
                                            Washington, D.C. 20004
                                            Telephone: (202) 637-2200
                                            Facsimile: (202) 637-2201


                                          Attorneys for Defendants


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                   LOCAL RULE 7.1D CERTIFICATION
      Counsel hereby certifies that the text of this memorandum of law (brief) has

been prepared with Time New Roman 14 point font, one of the font and point

selections approved by the Court in Local Rule 5.1B.

                                     By: /s/ Michael J. McConnell
                                          Michael J. McConnell
                                          Ga. Bar No. 485003
                                          Walter W. Davis
                                          Ga. Bar No. 213083
                                          Robert A. Watts
                                          Ga. Bar No. 793350
                                          JONES DAY
                                          1420 Peachtree Street, NE, Ste. 800
                                          Atlanta, GA 30309-3053
                                          Telephone: (404) 521-3939
                                          Facsimile: (404) 581-8330

                                     By: /s/ Michele D. Johnson
                                          Michele D. Johnson
                                          (admitted pro hac vice)
                                          Kristin N. Murphy
                                          (admitted pro hac vice)
                                          Latham & Watkins LLP
                                          650 Town Center Drive, 20th Floor
                                          Costa Mesa, California 92626
                                          Telephone: (714) 540-1235
                                          Facsimile: (714) 755-8290

                                            Sarah A. Greenfield
                                            (pro hac pending)
                                             Latham & Watkins LLP
                                             555 Eleventh Street, NW Ste. 1000
                                             Washington, D.C. 20004
                                             Telephone: (202) 637-2200
                                             Facsimile: (202) 637-2201
                                            Attorneys for Defendants
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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 27, 2017, I electronically filed the

foregoing Defendants’ Memorandum of Law in Support of Defendants’ Motion to

Dismiss the Consolidated Complaint with the Clerk of the Court using CM/ECF,

which will deliver the document to all counsel of record who have appeared in the

action.


                                     By: /s/ Michael J. McConnell
                                          Michael J. McConnell
                                          Ga. Bar No. 485003
                                          Walter W. Davis
                                          Ga. Bar No. 213083
                                          Robert A. Watts
                                          Ga. Bar No. 793350
